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                    UNITED STATES BANKRUPTCY COURT FOR THE
                             DISTRICT OF COLORADO

 IN RE:                                        )
                                               )     Case No. 20-12377 EEB
 SKLAR EXPLORATION COMPANY,                    )
 LLC                                           )
 EIN: XX-XXXXXXX                               )     Chapter 11
                                               )
          Debtor.                              )
                                               )
                                               )     Case No. 20-12380 EEB
 SKLARCO, LLC                                  )
 EIN: XX-XXXXXXX                               )
                                               )     Chapter 11
          Debtor.                              )
                                               )

  FANT ENERGY’S UNOPPOSED MOTION FOR ORDER AUTHORIZING RIGHT OF
                             SETOFF


        Fant Energy Limited (“Fant Energy”), by and through its undersigned attorneys, hereby
 submits its Motion for Order Authorizing Right of Setoff pursuant to Section 8.16 of the Second
 Amended and Restated Joint Plan of Reorganization Dated December 18, 2020 (“Joint Plan”)
 [ECF No. 1251], and states as follows:

         1.      Fant Energy is a party to various operating agreements and participation agreements
 (collectively, the “Oil & Gas Agreements”), pursuant to which Sklar Exploration serves as the
 operator of oil and gas properties in which Sklarco and Fant, among others, are working interest
 holders. The working interest holders are obligated to fund their proportionate share of drilling and
 operating expenses of specific wells in which they are invested through cash call advances and
 payment of their proportionate share of joint interest billings.

        2.     Fant Energy filed its Second Amended Claim No. 10154 (the “Claim”) on January
 8, 2021. As reflected in the Claim, Fant Energy’s prepetition claim against Sklar Exploration
 amounts to $738,140.30, consisting of $333,380.46 in cash call advances and $404,759.84 in
 unpaid revenues.

        3.      As of the filing of Sklar Exploration’s bankruptcy petition on April 1, 2020, Fant
 Energy was obligated to Sklar Exploration with respect to certain joint interest billings associated
 with the Oil & Gas Agreements in the amount of $61,611.91.

         4.     Under Section 553(a) of the Bankruptcy Code, rights of setoff are preserved with
 respect to mutual debts arising prior to commencement of the case.




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               The right of setoff (also called “offset”) allows entities that owe each other
               money to apply their mutual debts against each other, thereby avoiding ‘the
               absurdity of making A pay B when B owes A.’ Although no federal right of
               setoff is created by the Bankruptcy Code, 11 U.S.C. § 553(a) provides that, with
               certain exceptions, whatever right of setoff otherwise exists is preserved in
               bankruptcy.

 Citizens Bank v. Strumpf, 516 U.S. 16, 18-20 (1995), quoting Studley v. Boylston Nat’l Bank, 229
 U.S. 523, 528 (1913). Generally, a right to setoff is not affected by bankruptcy. Davidovich v.
 Welton (In re Davidovich), 901 F.2d 1533, 1539 (10th Cir. 1990).

        5.     Fant Energy is entitled to a right of setoff to the extent its claim and the obligation
 for unpaid JIBs arose prior to the filing of the bankruptcy petition. In addition, these prepetition
 claims are mutual. See United States v. Myers (In re Myers), 362 F.3d 667, 672 (10th Cir. 2004).

          6.      Pursuant to Section 8.16 of the Joint Plan, Fant Energy provided written notice of
 its right of setoff on September 2, 2020 and filed a Notice of Right of Setoff [ECF No. 1452]. Fant
 Energy did not receive notice of allowance of its right of setoff within ten days, as specified in
 Section 8.16 of the Joint Plan. Consequently, Fant Energy’s right of setoff can only be approved
 by order of the Court.

        7.      The undersigned has conferred with counsel for the Debtors and East West Bank
 regarding this motion and is authorized to represent that they have no objection to the relief
 requested herein.

         WHEREFORE, Fant Energy respectfully requests that the Court enter its order affirming
 Fant Energy’s right of setoff pursuant to Section 8.16 of the Joint Plan to the extent of any
 prepetition obligation owed to Sklar Exploration and for such other relief as is appropriate.

          DATED: October 1, 2021                          Respectfully submitted,

                                                          LEWIS ROCA ROTHGERBER CHRISTIE LLP

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on October 1, 2021, a true and correct copy of the
 foregoing FANT ENTERGY’S UNOPPOSED MOTION FOR ORDER AUTHORIZING
 RIGHT OF SETOFF was electronically filed and served via CM/ECF pursuant to L.B.R. 9036-
 1 and 2082-1(a) and (b) and was served upon the following listed below by depositing same in the
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